Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 1 of 7 PageID 3399



                        UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

UNITED STATES OF AMERICA
                                                 Case No.: 8:21-cr-348-SCB-SPF
v.

JEREMY BROWN

          UNITED STATES’ RESPONSE IN OPPOSITION TO DEFENDANT’S
                MOTION FOR RELEASE PENDING SENTENCING

          The United States of America hereby files this Response in Opposition to the

Defendant’s Motion for Release Pending Sentencing (Doc. 314). For the reasons

stated below, the United States respectfully submits that 18 U.S.C. § 3143 requires that

the Court deny the Defendant’s Motion.

     I.      Background

          On September 30, 2021, federal agents arrested the Defendant and executed a

search warrant at the Defendant’s residence and recreational vehicle (R.V.). In the

bedroom of the R.V., agents located an ammunition carrier containing two M67

fragmentation grenades. On a couch in the R.V., agents located an illegal short-barrel

shotgun. Next to the shotgun, agents located a briefcase. Inside the briefcase, agents

located photographs and personal papers of the Defendant. Among those papers,

agents found a paper copy of a classified Trip Report concerning a missing soldier that

the Defendant had authored, which was marked “SECRET,” as well as a C.D.

marked as classified with a red “SECRET” sticker.

          On October 5, 2021, the Court held a pretrial detention hearing, and ordered

that the Defendant remain in custody because “the Government ha[d] proven by clear
Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 2 of 7 PageID 3400



and convincing evidence that no condition or combination of conditions of release will

reasonably assure the safety of any other persons and the community” (Doc. 19 at 2).

      On October 26, 2021, the Defendant filed a motion renewing his request for

bond (Doc. 27). On November 11, 2021, the Court denied that motion (Doc. 44).

      On November 19, 2021, the Defendant filed a motion for reconsideration of the

Court’s denial of his bond request (Doc. 49). The Court conducted three days of

evidentiary hearings, and again denied the Defendant’s bond request. The Court

explained that the Defendant had made a “direct threat” against law enforcement

prior to his arrest (Doc. 75 at 18-20). The Court also found that, after the first

detention hearing, the Defendant had attempted to intimidate a federal agent who was

a witness against him:

      In addition, there was more evidence that was presented to the Court through a
      sealed exhibit that was discussed at sidebar, which I will not reveal the specifics
      of that sealed exhibit, but in general terms, it was a discussion that the
      Defendant was having with his partner regarding her efforts to locate a witness
      in this case and a law enforcement officer, and then it goes beyond that: To go
      into that law enforcement's family, and to provide -- look for information about
      family members of that law enforcement agent. The Court views that as another
      threat to law enforcement as well as potentially an effort to tamper with
      witnesses in this case, which the Court takes very seriously.

(Doc. 75 at 20). The Court also pointed to the facts that the Defendant had refused to

comply with a DNA search warrant and had stated that he would not comply with

firearms or GPS monitoring restrictions if released on bond (Doc. 77 at 14, 19; Doc.

90 at 73, 76, 85-86).

      On August 11, 2022, the Defendant filed another motion requesting that he be

released on bond, arguing that he needed to be released to care for his mother (Doc.



                                             2
Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 3 of 7 PageID 3401



198). The Court held another evidentiary hearing at which the Defendant and his

mother testified. The Court denied the motion explaining that “Brown remains a

significant threat to law enforcement” and, once again, finding “by clear and

convincing evidence that there are no condition or combination of conditions of

release [that] will reasonably assure the safety of any other person and the

community” (Doc. 205 at 3).

         On December 5, 2022, the Defendant proceeded to trial by jury. At trial, the

Defendant testified, denied that he knowingly possessed the M67 fragmentation

grenades, and claimed that the classified Trip Report did not contain any classified

information. On December 12, 2022, the jury found the Defendant guilty of possession

of unregistered firearms, possession of unregistered grenades, unlawful storage of

grenades, and willful retention of national defense information, relating to the

classified Trip Report. The jury acquitted the Defendant of four counts of willful

retention of national defense information, relating to four electronic documents on the

classified C.D.

         On January 4, 2023, the Defendant filed the instant Motion for Release Pending

Sentencing (Doc. 314). The Defendant argues that he needs to be released from

custody pending sentencing so that he may assist his mother in preparing to move

from North Carolina to Tampa.

   II.      Legal Standard

         Title 18, United States Code, Section 3143(a)(1) provides that the Court “shall

order that a person who has been found guilty of an offense and who is awaiting


                                             3
Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 4 of 7 PageID 3402



imposition or execution of sentence, other than a person for whom the applicable

guideline promulgated to 28 U.S.C. § 994 does not recommend a term of

imprisonment, be detained, unless the judicial officer finds by clear and convincing

evidence that the person is not likely to flee or pose a danger to the safety of any other

person or the community if released.”

   III.   Analysis

      The Court must deny the Defendant’s Motion because the Defendant has been

convicted of multiple, serious federal crimes at trial and the applicable Sentencing

Guidelines recommend a substantial term of imprisonment. See 18 U.S.C. §

3143(a)(1). For example, for the Defendant’s willful retention of the classified Trip

Report, he will face at least a base offense level of 24. Thus, even prior to application

of the anticipated enhancements for abuse of a position of trust and obstruction of

justice, and additional adjustments for grouping with the five other counts of

conviction, the Guidelines recommend a period of incarceration of 51 to 63 months in

prison. The recommended term of imprisonment will therefore be substantially greater

than the 15 months that the Defendant has been in custody.

      Moreover, nothing has changed to impact the Court’s prior findings that the

Defendant poses a danger if released on bond, much less to show by clear and

convincing evidence that he does not pose such a danger. Indeed, the case for

detention has only strengthened with the Defendant’s conviction. The offenses of

conviction are very serious – the Defendant possessed illegally modified firearms,

stolen military explosive grenades, and a stolen classified document. He used his


                                             4
Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 5 of 7 PageID 3403



position of trust in the U.S. Army – where he was entrusted as a weapons Sergeant

and granted a top secret security clearance – to steal the grenades and classified

information. And he stored these items in an unsecured manner in a residential

neighborhood, putting himself, his family, and his neighbors in danger.

      The Defendant’s conduct at trial also supports his continued detention. The

jury’s verdict establishes, beyond a reasonable doubt, that the Defendant committed

perjury at trial. Specifically, the Defendant testified that he had never seen the two

stolen M67 fragmentation grenades that agents found in his R.V. The jury plainly

disbelieved this testimony and found the Defendant guilty of knowingly possessing

those grenades. The Defendant also testified that the classified Trip Report did not

contain any classified information, but the jury determined that the Defendant was

guilty of willfully retaining classified information. The Defendant’s decision to

repeatedly lie under oath underscores this Court’s prior determinations that he would

not likely comply with reasonable conditions of release.

      Finally, while the United States recognizes the Defendant’s concern for his

mother’s health, that factor does not overcome this Court’s prior findings that the

Defendant poses a danger if released on bond. Moreover, the United States notes that

the Defendant’s mother was able to travel to Tampa to attend the trial of this matter.

      For these reasons, the United States respectfully requests that the Court deny

the Defendant’s Motion and order that he remain in custody.

                                         Respectfully submitted,

                                         ROGER B. HANDBERG
                                         United States Attorney

                                            5
Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 6 of 7 PageID 3404




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                                      6
Case 8:21-cr-00348-SCB-SPF Document 315 Filed 01/10/23 Page 7 of 7 PageID 3405



U.S. v. Jeremy Brown                             Case No. 8:21-cr-348-SCB-SPF

                             CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Roger Futerman, Esq.

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                                             7
